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                                      Exhibit D


Claim Number      Date       Carrier Name         Reason Code          Total
                  Created                                              Amount
LD000994653       03/03/2020 USF Holland LLC      Damaged               $
                                                                       1,000.00
LD000995939       04/22/2020 USF Holland LLC      Lost in Transit       $
                                                                       1,138.36
LD000996228       06/03/2020 USF Holland LLC      Lost in Transit       $
                                                                       7,779.24
LD000996927       09/08/2020 USF Holland LLC      Damaged               $
                                                                       8,769.89
LD000997604       12/16/2020 USF Holland LLC      Lost in Transit       $
                                                                       13,853.61
LD000997969       03/15/2021 USF Holland LLC      Lost in Transit       $
                                                                       1,562.58
LD000998619       05/19/2021 USF Holland LLC      Shortage              $
                                                                       2,062.00
LD000999626       07/06/2021 USF Holland LLC      Lost in Transit       $
                                                                       427.60
LD001000299       08/17/2021 USF Holland LLC      Damaged               $
                                                                       2,961.93
LD001000808       09/13/2021 USF Holland LLC      Damaged               $
                                                                       2,184.56
LD001001182       09/29/2021 USF Holland LLC      Damaged               $
                                                                       3,693.95
LD001001449       10/11/2021 USF Holland LLC      Damaged               $
                                                                       7,662.20
LD001001454       10/11/2021 USF Holland LLC      Visible Damage        $
                                                                       2,900.28
LD001001615       10/20/2021 USF Holland LLC      Lost                  $
                                                                       2,010.21
LD001001875       11/03/2021 USF Holland LLC      Short                 $
                                                                       1,877.63
LD001002477       12/03/2021 USF Holland LLC      Damaged               $
                                                                       1,105.14
LD001002626       12/13/2021 USF Holland LLC      Damaged               $
                                                                       6,426.03
LD001003238       01/19/2022 USF Holland LLC      Damaged               $
                                                                       5,636.80
LD001003676       02/10/2022 USF Holland LLC      Lost in Transit       $
                                                                       2,721.33
LD001003681       02/10/2022 USF Holland LLC      Lost in Transit       $
                                                                       1,624.12
LD001004031       02/24/2022 USF Holland LLC      Damaged               $


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                                                                827.81
LD001004209       03/04/2022 USF Holland LLC   Lost in Transit   $
                                                                65.99
LD001004367       03/14/2022 USF Holland LLC   Lost              $
                                                                5,013.32
LD001004470       03/17/2022 USF Holland LLC   Damaged           $
                                                                893.55
LD001004594       03/28/2022 USF Holland LLC   Lost in Transit   $
                                                                2,019.72
LD001005342       05/12/2022 USF Holland LLC   Damaged           $
                                                                840.88
LD001005568       05/24/2022 USF Holland LLC   Shortage          $
                                                                171.00
LD001005726       05/31/2022 USF Holland LLC   Damaged           $
                                                                181.35
LD001006261       06/24/2022 USF Holland LLC   Damaged           $
                                                                786.34
LD001006378       06/29/2022 USF Holland LLC   Damaged           $
                                                                893.55
LD001006717       07/14/2022 USF Holland LLC   Lost              $
                                                                141.72
LD001006775       07/18/2022 USF Holland LLC   Damaged           $
                                                                1,175.00
LD001007543       08/18/2022 USF Holland LLC   Shortage          $
                                                                1,279.20
LD001010419       01/11/2023 USF Holland LLC   Damaged           $
                                                                4,045.00
LD001010699       01/23/2023 USF Holland LLC   Lost              $
                                                                4,003.11
LD001010869       02/01/2023 USF Holland LLC   Damaged           $
                                                                8,784.83
LD001013525       06/15/2023 USF Holland LLC   Damaged           $
                                                                3,247.26
QC0001005201 05/04/2022 USF Holland LLC        Damaged/Accident $
                                                                6,477.74
QC0001009700 12/12/2022 USF Holland LLC        Damaged/Accident $
                                                                6,120.99
LD001010230       01/04/2023 USF Holland LLC   Damaged           $
                                                                1,009.00
LD001010232       01/04/2023 USF Holland LLC   Damaged           $
                                                                509.00
LD001010255       01/04/2023 USF Holland LLC   Damaged           $
                                                                400.00
LD001010464       01/12/2023 USF Holland LLC   Damaged           $
                                                                3,401.60


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LD001010891       02/01/2023 USF Holland LLC   Damaged               $
                                                                    4,426.00
LD001011060       02/07/2023 USF Holland LLC   Damaged               $
                                                                    5,926.00
LD001011115       02/10/2023 USF Holland LLC   Damaged               $
                                                                    7,452.00
LD001012480       04/22/2023 USF Holland LLC   Damaged               $
                                                                    2,524.60
LD001013450       06/12/2023 USF Holland LLC   Damaged               $
                                                                    17,450.39
LD001013718       06/23/2023 USF Holland LLC   Lost in Transit       $
                                                                    156.18
LD001013733       06/26/2023 USF Holland LLC   Damaged               $
                                                                    378.95
QC0001007453 08/15/2022 USF Holland LLC        Damaged/Accident      $
                                                                    11,518.25
QC0001009047 11/08/2022 USF Holland LLC        Damaged/Accident      $
                                                                    3,817.16
QC0001009324 11/21/2022 USF Holland LLC        Damaged/Accident      $
                                                                    10,253.36
QC0001007885 09/12/2022 USF Holland LLC        Damaged/Accident      $
                                                                    6,788.00
QC0001010738 01/24/2023 USF Holland LLC        Damaged               $
                                                                    2,746.00
QC0001008714 10/25/2022 USF Holland LLC        Damaged/Accident      $
                                                                    3,233.12
QC0001013371 06/06/2023 USF Holland LLC        Damaged/Accident      $
                                                                    863.42
QC0001013691 06/22/2023 USF Holland LLC        Lost/Stolen           $
                                                                    7,307.00
QC0001009803 12/15/2022 USF Holland LLC        Damaged/Accident      $
                                                                    3,807.97
QC0001012260 04/10/2023 USF Holland LLC        Concealed             $
                                               Damage               621.97
QC0001012617 04/27/2023 USF Holland LLC        Lost/Stolen           $
                                                                    10,285.40
QC0001013198 05/27/2023 USF Holland LLC        Damaged/Accident      $
                                                                    11,309.66
QC0001011063 02/07/2023 USF Holland LLC        Damaged               $
                                                                    4,431.87

                                                                     $
                                                                    244,982.72




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